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                        THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


METSO PAPER USA, INC.

                       Plaintiff
       Y.                                          3:08·cy·0047
                                                   (JUDGE MARIANI)
GENERAL ELECTRIC COMPANY

                       Defendant


                            ORDER SETTING DAUBERT HEARING

   The Court hereby sets for hearing beginning May 22,2012, at 10:00 a.m., and continuing

through May 23, 2012, at the William J. Nealon Federal Building and United States Courthouse,

Scranton, Pennsylvania, the following motions:

       • Motion to Preclude Defendant's Use of Joseph B. Sala (Doc. 84).

       • Motion to Preclude Defendant's Use of James Arthur Tompkins, Sr. (Doc. 85).

       • Motion to Preclude Defendant From Mentioning Insurance (Doc. 86).

       • Motion to Preclude Defendant's Use of Donald J. Hoffmann (Docs. 87 and 117).

       • Motion to Preclude Defendant's Use of Harri Kytomaa (Doc. 88).

       • Motion In Limine to Preclude Information and Facts Related to Cases Where Donald

            J. Hoffman Was Retained by GE for Cases Unrelated to Metal Halide Lamps (Doc.

             91).

       • Motion In Limine to Preclude Testimony or Evidence Related to Analysis of Other

             Metal Halide Bulbs Performed by H.K. Kytomaa (Doc. 92).
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       • Motion In Limine to Preclude Testimony and Evidence of Other Manufacturers'

           Metal Halide Bulbs (Doc. 93).

       • Motion In Limine to Preclude Testimony and Evidence of the Current Standards

           Related to Metal Halide Bulbs (Doc. 94).

       • Motion In Limine to Preclude Testimony and Evidence Related to Other Incidents of

           Fire from Non-Passive Failures (Doc. 95).

       • Motion In Limine to Preclude Evidence or Reference to the Plaintiffs Claim for

           Punitive Damages (Doc. 96).

       The parties should further be prepared to appear before the Court on May 24, 2012, in

the event that the hearings extend beyond the initial dates set forth in this Order. The parties

must be ready to present evidence and testimony in support of their motions, and should

produce all relevant witnesses at that time.




DATE: April 4, 2012
